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                      14        Counsel for Plaintiff

                      15                                         UNITED STATES DISTRICT COURT

                      16                                             DISTRICT OF NEVADA

                      17        MARCIA LEE,                                     Case No. 2:20-cv-00742-APG-EJY
                      18                            Plaintiff,                  STIPULATION OF DISMISSAL OF
                                                                                EQUIFAX INFORMATION SERVICES,
                      19                v.                                      LLC, WITH PREJUDICE
                      20        EQUIFAX INFORMATION SERVICES,                   Complaint filed: April 24, 2020
                                LLC; and TRANS UNION LLC,
                      21
                                                    Defendants.
                      22

                      23                PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii),
                      24
                                the parties have stipulated to the dismissal of Defendant Equifax Information Services, LLC, from
                      25
                                the above captioned action, with prejudice.
                      26
                                //
                      27

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                                Case 2:20-cv-00742-APG-EJY Document 46 Filed 10/20/20 Page 2 of 2



                                Each party will bear its own fees and costs.
                         1

                         2             IT IS SO STIPULATED.
                                       DATED: October 20, 2020.
                         3
                                 KNEPPER & CLARK LLC                                    CLARK HILL PLLC
                         4
                                 /s/ Shaina R. Plaksin                                  /s/ Jeremy J. Thompson
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                                 Trans Union LLC
                      22
                                                   ORDER GRANTING STIPULATION OF DISMISSAL
                      23
                                                    OF EQUIFAX INFORMATION WITH PREJUDICE
                      24
                                 IT IS SO ORDERED.
                      25                                               _________________________________________
                                                                       UNITED STATES DISTRICT COURT JUDGE
                      26
                                                                                  20th day of _______________
                                                                       DATED this ____          October       2020
                      27

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                                                                               2 of 2
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